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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF FLORIDA
                            FORT LAUDERDALE DIVISION


                                                   )
In re                                              )     Chapter 7
                                                   )
SHAWN TIMOTHY MINCEY and                           )     Case No. 19-11799-JKO
STEPHANIE SUZANNE MINCEY,                          )
Debtor(s)                                          )     BANKRUPTCY JUDGE
                                                   )     JOHN K OLSON




                  REQUEST OF PRA RECEIVABLES MANAGEMENT, LLC
            FOR SERVICE OF NOTICES PURSUANT TO FED. R. BANKR. P. 2002(g)

PLEASE TAKE NOTICE that PRA Receivables Management, LLC, as authorized agent for Synchrony

Bank (Amazon.com Store Card [Last four digit of account:6597]), a creditor in the above-captioned

chapter 7 case, requests, pursuant to Rules 2002 and 9007 of the Federal Rules of Bankruptcy Procedure

(the Bankruptcy Rules) and sections 102(1), 342 and 1109(b) of title 11 of the United States Code, 11

U.S.C. §§ 101, et seq. (as amended, the Bankruptcy Code), that all notices given or required to be given

and all papers served or required to be served in this case be also given to and served, whether

electronically or otherwise, on:
            Synchrony Bank
            c/o PRA Receivables Management, LLC
            PO Box 41021
            Norfolk, VA 23541
            Telephone: (877)885-5919
            Facsimile: (757) 351-3257
            E-mail: claims@recoverycorp.com


Dated: Norfolk, Virginia
February 10, 2019
                                                       By: /s/ Valerie Smith
                                                       Valerie Smith
                                                       c/o PRA Receivables Management, LLC
                                                       Senior Manager
                                                       PO Box 41021
                                                       Norfolk, VA 23541
                                                       (877)885-5919

Assignee Creditor: Amazon.com Store Card [Last four digit of account:6597]
